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  1    Peter R. Afrasiabi (Bar No. 193336)
       pafrasiabi@onellp.com
  2    ONE LLP
       4000 MacArthur Boulevard
  3    Each Tower, Suite 500
       Newport Beach, CA 92660
  4    Telephone: (949) 502-2870
       Facsimile: (949) 258-5081
  5
       David Quinto (Bar No. 106232)
  6    Joanna Ardalan (Bar No. 285384)
       jardalan@onellp.com
  7    ONE LLP
       9301 Wilshire Boulevard
  8    Penthouse Suite
       Beverly Hills, CA 90210
  9    Telephone: (310) 866-5157
       Facsimile: (310) 943-2085
 10
       Attorneys for Defendants and
 11    Counterclaimants Backgrid USA, Inc.,
       Splash News and Picture Agency, LLC, and
 12    Xposure Photo Agency, Inc.
 13                         UNITED STATES DISTRICT COURT
 14                       CENTRAL DISTRICT OF CALIFORNIA
 15
       ENTTECH MEDIA GROUP LLC,               Case No.: 2:20-cv-06298 JWH (Ex)
 16                                           Hon. John W. Holcomb
                     Plaintiffs,
 17                                           JOINT REPLY TO ORDER TO
             v.
                                              SHOW CAUSE RE SANCTIONS
 18    OKULARITY, INC.; JON NICOLINI;         UNDER RULE 11(c)(3)
 19    BACKGRID USA, INC.; SPLASH
       NEWS AND PICTURE AGENCY,
 20    LLC; AND XPOSURE PHOTO
 21    AGENCY, INC.
 22                  Defendants.
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  1   I.    INTRODUCTION
  2         ENTtech’s allegation that Mr. Nicolini did not review the infringements for
  3   fair use prior to issuing DMCA notices is wrong and was a product of pure
  4   speculation. Remove this allegation from the Complaint, the First Amended
  5   Complaint, the Second Amended Complaint, and the Third Amended Complaint,
  6   and none of the claims survive. The 512(f) claim would fail on its face because it
  7   requires an allegation that Mr. Nicolini had no good faith belief that ENTtech’s use
  8   was an infringement when he sent the DMCA notices to Instagram. The RICO claim
  9   would fail as well because the DMCA notices that ENTtech alleges are part of the
 10   “scheme to defraud” would be lawful. ENTtech had no evidentiary basis for this
 11   allegation, but asserting it forced the Photo Agencies and Okularity to spend tens of
 12   thousands of dollars defending against ENTtech’s rank speculation.
 13         Mr. Tauler’s declaration does not reveal any evidentiary basis for the
 14   allegation that Mr. Nicolini did not consider fair use. Despite Mr. Tauler’s
 15   numerous and extensive opportunities to explain how and why he was supposedly
 16   justified in making the allegation, his testimony and the documents themselves
 17   confirm that it is based on nothing more than his own baseless suspicion. Mr.
 18   Tauler’s and his associate’s Westlaw History revealed nothing about Mr. Nicolini in
 19   particular, except for a 2012 declaration, which Mr. Tauler recognized was attested
 20   to long before Lenz v Universal Music Corp., 815 F.3d 1145 (9th Cir. 2016)
 21   (“Lenz”), the decision that made clear that a fair use review is required before
 22   issuing a DMCA notice. And the declaration related to different software, a different
 23   company, and did not describe scanning a social media site, but a BitTorrent peer-to-
 24   peer network; it did show however that human beings reviewed every potential
 25   infringement flagged by the software. Excerpts of Mr. Nicolini’s and Mr. Ginsburg’s
 26   deposition transcript do not reveal anything Mr. Tauler learned before filing the
 27   complaints; their depositions were purely discovery and unhelpful to Mr. Tauler
 28   anyway. Mr. Nicolini testified that he performed an adequate fair use analysis,
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  1   something which Mr. Tauler contends “any idiot” can perform. As Mr. Nicolini
  2   explained at his deposition, no notice would be sent without his “direct intervention”
  3   and he explained that he personally reviews the infringements because it is “the most
  4   reliable way of matching.” (Nicolini Depo., 15:13-22:01.) And screenshots of a
  5   Tumblr blog post and a magazine article attached to Mr. Tauler’s declaration do not
  6   discuss Mr. Nicolini’s review of fair use and are not helpful to Mr. Tauler. In short,
  7   nothing in Tauler’s pre-suit investigation provided to the Court, or developed since,
  8   justifies the allegations, as none of that pre-suit investigation informed Mr. Tauler of
  9   Mr. Nicolini’s actual practice in reviewing and submitting DMCA takedown notices
 10   in this case (or any other case).
 11         In the end, Mr. Tauler seems to rest the adequacy of his pre-suit investigation
 12   on his own beliefs: he believes that Okularity’s software is fully automated and that
 13   DMCA takedowns are automatically submitted, and—as he testified in deposition—
 14   he simply does not believe Mr. Nicolini did any fair-use analysis “at all.” But
 15   beliefs, no matter how strongly held, are not adequate under Rule 11, especially
 16   when contradicted by facts that were available, revealed, and provided to Tauler
 17   before filing the offending pleadings.
 18         Mr. Tauler has been given ample opportunity to address his Rule 11 problem:
 19   He was told in a Rule 11 letter that this allegation was wrong; he was given a copy
 20   of the Rule 11 motion 21 days before filing; and, he was warned in the Court’s OSC
 21   re Sanctions. Instead of explaining his basis for his allegations or dismissing the
 22   claims with prejudice, he filed a Third Amended Complaint, which included the
 23   same problematic allegations, after which he had been given another two
 24   opportunities to file a response to the OSC. For all of this time he has maintained
 25   that he had an evidentiary basis, but after a full examination of his declaration, it is
 26   clear he did not and does not now.
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  1   II.   MR. TAULER’S DECLARATION AND ATTACHMENTS PROVIDE
  2         NO EVIDENTIARY SUPPORT FOR HIS ALLEGATION THAT MR.
  3         NICOLINI DID NOT REVIEW FOR FAIR USE
  4         Despite being told by Mr. Nicolini that he had reviewed each infringement on
  5   the ENTtech Instagram account for fair use before issuing a DMCA takedown
  6   notice, Mr. Tauler continues to contend that Mr. Nicolini had not done so. (Nicolini
  7   Decl., ¶¶ 6, 7 (Dkt. 39-7), ¶ 3 (Dkt. 67-3), Ardalan Decl., Ex. A, e.g., 94:16-18
  8   (explaining he reviews each infringement for fair use), Complaint ¶¶ 40, 41, FAC ¶¶
  9   40, 41, SAC ¶¶ 40, 41, TAC ¶¶ 40, 41, 53.) Mr. Tauler’s declaration contains the
 10   universe of his investigation with respect to the allegation regarding Mr. Nicolini’s
 11   failure to review fair use, as confirmed by his deposition. (Deposition of Robert
 12   Tauler (“Tauler Depo”) lodged concurrently (passim.)) The declaration confirms he
 13   had no evidentiary basis supporting this theory as required by Rule 11.
 14                 Mr. Tauler’s Westlaw History (Tauler Decl., Exhibit A)
 15         Mr. Tauler’s Westlaw research reveals he researched the litigation history of
 16   Okularity, Backgrid, Paper Magazine (an ENTtech property), and Splash, as well as
 17   other cases relating to the unauthorized practice of law, and the Lenz decision. At
 18   deposition, Mr. Tauler was asked to explain how each of his searches, or the
 19   documents they found, informed him that Mr. Nicolini failed to review the
 20   infringements for fair use. Mr. Tauler confirmed that they do not. (Tauler Depo.,
 21   8:21- 21:17, 34:23-37:01, 43: 15-50:10, 66:18-72:08, 83:01-16, 86:15-88:06.) At
 22   best, he explained that he found a declaration of Mr. Nicolini, which is attached to
 23   his declaration as Exhibit B and discussed in detail below. He also explained that
 24   one exhibit revealed a demand letter written by Mr. Perkowski, Okularity’s lawyer,
 25   that contained the same fair use statement as was used in Mr. Nicolini’s DMCA
 26   notices, which he ultimately concluded was not a “direct correlation between what
 27   Mr. Nicolini did in June of 2020 and the letter his confederate wrote for Odell
 28   Beckman in 2018.” (Tauler Depo. 10:10-11:23, 13:12-18) He also concluded that
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  1   one need not be a lawyer to perform a fair use analysis. 1 (Tauler Depo., 40:08-13)
  2   Mr. Tauler’s Westlaw research did not provide an evidentiary basis for his
  3   contention that Mr. Nicolini did not review fair use.
  4       Mr. Nicolini’s 2012 Declaration on Behalf of Copyright Enforcement Group
  5                                  (Tauler Decl., Exhibit B)
  6          Mr. Tauler acknowledges that this declaration was written in 2012, years
  7   before the Lenz decision was published, a decision which puts copyright holders and
  8   agents on notice that they should review for fair use prior to issuing DMCA notices.
  9   Mr. Tauler contends that this declaration was helpful not because it informed him
 10   whether Mr. Nicolini preformed the analysis, but that it informed him of Mr.
 11   Nicolini’s professional background, that of a software developer, not a person
 12   trained to analyze fair use. (Tauler Depo., 38:2-42:5 (explaining that the declaration
 13   is helpful for Nicolini’s background and that he has no legal training); cf Tauler
 14   Depo 18:16-19:9 (acknowledging that a technological background “absolutely
 15   [does] not preclude one from being able to perform fair use analysis”) Mr. Tauler
 16   contends that the fact Mr. Nicolini “was a CTO [Chief Technology Officer], and his
 17   only responsibilities were to determine what photos match using software” in 2012
 18   for a different company somehow meant that Mr. Nicolini could not or did not
 19   perform a fair use analysis in 2020.
 20          When asked why Mr. Tauler believed Mr. Nicolini had no legal training he
 21   did not have a basis for this belief either. (Tauler Depo., 42:20-43:14 (Tauler
 22   explains his pre-suit filing basis for believing Nicolini has no legal training is
 23   because if he had he would have put it on his website.) Curiously, while Mr. Tauler
 24   claims Mr. Nicolini’s software background precludes him from doing a fair use
 25   analysis, Mr. Tauler testified “[a]ny idiot can do a fair use analysis,” which suggests
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 28   1
       The Court acknowledged that non-lawyers may engage in protected prelitigation
      activity, such as issuing DMCA notices. (Dkt. 40.)
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  1   that even Mr. Tauler does not believe that special legal training is needed to perform
  2   such an analysis.
  3           The 2012 declaration, which is on behalf of Copyright Enforcement Group, is
  4   for a different company, relates to a different software that reviews for different
  5   types of infringement (motion picture instead of photographs), with different clients
  6   (production studios and videographers instead of photographers), which reviewed
  7   infringements on different platforms (peer-to-peer BitTorrent networks instead of
  8   social media sites). See Tauler Decl., Ex. B. There is no basis to assume that
  9   anything in the 2012 declaration for Copyright Enforcement Group has any bearing
 10   on the practices of Okularity today.
 11           Significantly, the 2012 declaration even acknowledges that a person reviews
 12   the infringement prior to any action undertaken, which Mr. Tauler knows was not
 13   required back in 2012. (Tauler Decl., Ex. B, ¶ 28 (“This new download is viewed by
 14   a person to confirm that it is a copy of at least a substantial portion of the Plaintiff's
 15   motion picture.”); Tauler Depo, 37:20-38:10 (acknowledging that the declaration
 16   was written years before the Lenz decision issued).
 17           The 2012 declaration provides no evidentiary basis for Tauler’s allegation that
 18   Mr. Nicolini did not review fair use. While it describes Mr. Nicolini’s technological
 19   background, such a background does not preclude him from being able to review for
 20   fair use and has no bearing on whether he in fact did review fair use in good faith in
 21   2020.
 22         Selected Portions of Mr. Nicolini’s Deposition (Tauler Decl., Exhibit C)
 23           As a threshold matter, the deposition excerpts attached as Exhibit C relate not
 24   to what Mr. Tauler knew or did not know before filing the First Amended
 25   Complaint. The deposition transcript demonstrates only Mr. Tauler’s post-
 26   complaint discovery efforts on the issue of whether Mr. Nicolini engaged in fair use
 27   analysis before sending the notices, which is not useful to him in the Rule 11
 28
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  1   context. This deposition therefore cannot exonerate Tauler; it can and does,
  2   however, confirm that Tauler has no evidentiary basis for ENTtech’s allegations.
  3         While Mr. Tauler admonishes Mr. Nicolini for not being able to recite the
  4   statutory fair use factors, such a recitation is not a requirement to be able to do a
  5   good faith fair use review. When asked to perform a fair use analysis on an ENTtech
  6   infringement, Mr. Nicolini testified that the infringement was not fair use because it
  7   had “Minimal commentary. The heart of the photo is there. Zendaya. The whole
  8   photo was used. It’s an exact copy of the photograph. And it’s on a – it’s on a[n]
  9   Instagram account used to make money.” (Tauler Decl., Ex. C, 58:18-23.) Mr.
 10   Nicolini’s fair use analysis addresses each of the factors delineated in 17 U.S.C.
 11   § 107. He addresses the first factor, the purpose and character of the use, when he
 12   explains there is minimal commentary on an exact copy of the photograph, which
 13   then would preclude the use as having a new message or meaning. He addresses the
 14   second factor, the nature of the copyrighted work in that underlying work is a
 15   photograph. He addresses the third factor, the amount used, “the whole photo was
 16   used” and the substantiality of the portion used “the heart of the photo is there[,]
 17   Zendaya,” who is the subject matter of the photograph. Finally, he addresses the
 18   effect on the potential market for or the value of the copyrighted work when he
 19   testifies “it’s on a[n] Instagram account used to make money.” That is a good faith
 20   fair use analysis.2
 21
 22
 23   2
        Mr. Tauler admonishes Mr. Nicolini for not being able to recall the name of a
 24   judicial opinion relating to fair use. But recalling the name of a judicial opinion is not
      indicative of whether Mr. Nicolini performed the analysis. Even so, Mr. Tauler omits
 25   relevant testimony on this point. When asked about what legal research he has done,
 26   Mr. Nicolini testified that he has “read some newsletters” (Ardalan Decl., Ex. A.,
      13:10) and that “The U.S. Copyright Office has a great repository about fair use. And
 27   they offer various summaries.” (Nicolini Depo., 13:18-20; See Request for Judicial
 28   Notice (filed concurrently.) Indeed, the Fair Use Index on the Copyright Office
      website is an excellent resource for lay people (and lawyers) to learn about fair use as
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   1         Mr. Tauler contends that Mr. Nicolini’s analysis is “dead wrong,” citing to
   2   Perfect 10 Inc. v. Amazon.com., Inc. 508 F. 3d 1146, 1164 (9th Cir. 2007), because,
   3   he claims it stands for the proposition that “use of images was a fair use primarily
   4   based on the transformative nature of a search engine platform.” (Response at 9.)
   5   But that case involved Google’s indexing of thumbnails, which were transformative
   6   because there is a great public benefit in being able to use a Google Image Search
   7   for thumbnails. That is very different from ENTtech’s use of the photographs on
   8   Instagram in full scale, and used to generate interest and traffic to its site and brand.
   9   In any event, that Mr. Tauler would conclude differently than Mr. Nicolini when
  10   conducting his own fair-use analysis is both unsurprising and legally irrelevant here,
  11   where the question is whether fair use was considered at all for purposes of forming
  12   a “good faith belief” as to infringement. Tauler’s argument confirms that it was.
  13         Surprisingly, while the allegation that Mr. Nicolini did not review for fair use
  14   is the very heart of the claims against the Defendants—and, if false, would require
  15   dismissal of the DMCA claim and the RICO claim—Mr. Tauler admits that he has
  16   not reviewed the infringements for fair use himself and therefore he cannot
  17   credibly argue that Okularity’s analysis was deficient. (Tauler Depo., 59:03-05
  18   (“Did you do your own fair use analysis of the images that are at issue in this case?
  19   A. I don't think so. I don't recall.”); Tauler Depo., 61:10-15 (“So is it fair to say that
  20   you did fair use analysis on some of them, but not necessarily all the photos that are
  21   at issue here? A. I don't think I did a complete fair use analysis on any of them, quite
  22   frankly, because that wasn't an issue at the time.”).) Such an admission corroborates
  23   a lack of factual basis in bringing ENTtech’s claims. After all, had Mr. Tauler
  24   completed a fair use analysis which informed him that the infringement was not fair
  25
  26
  27
  28   it indexes cases by Circuit and provides helpful layperson-friendly summaries on each
       of the cases.
                                         7
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   1   use, certainly he would need something more to suggest to him that no review was
   2   actually completed.
   3         The irony of Mr. Tauler’s admonishment of Mr. Nicolini for his fair use
   4   review is that at least Mr. Nicolini’s review was legally correct. At deposition, Mr.
   5   Tauler was both unable to correctly state the fair use factors and was unable to
   6   complete a meaningful fair use review. (Tauler Depo., 117:14-124:12 (showing
   7   Tauler’s inability and unwillingness to review the infringement for fair use.)
   8            A ‘BooksAndCatsLover’ Tumblr Blog Post (Tauler Decl., Ex. D)
   9         The BooksandCatsLover Tumblr Blog post does not inform Mr. Tauler that
  10   Mr. Nicolini did not review for fair use. Mr. Tauler contends that it does because “it
  11   says that he used his software to automatically do the takedowns.” (Tauler depo.,
  12   142:11-12.) But the blog post does not say that. At best for Mr. Tauler, it complains
  13   about receiving notifications from Tumblr, another social media platform,
  14   regarding its receipt of DMCA notices sent by Mr. Nicolini. However, Mr. Tauler
  15   himself acknowledges that one could use software and perform a fair use analysis
  16   and that the only reason he contends Mr. Nicolini did not perform the analysis is that
  17   he is a “software person.”
  18                2 Q. What precludes Nicolini reviewing for fair use
                    3 and then having a software send the notice?
  19
                    4 A. You'd have to ask him.
  20                5 Q. Well, I'm asking you. What information do you
                    6 have that says or that suggests that using software
  21
                    7 precludes one from reviewing fair use initially?
  22                8 A. I never said that.
                    9 Q. Okay. So what prevents -- what information do
  23
                    10 you have that says that Mr. Nicolini could not have
  24                11 reviewed fair use and then sent it to the software to
                    12 issue the notice?
  25
                    13 A. I mean, I could just -- you know, I almost
  26                14 want to quote a complaint, "I hereby incorporate the
                    15 foregoing paragraphs by reference," but, you know, for
  27
                    16 all the reasons I've stated.
  28                17 He doesn't know how to do it. He's a software
                                         8
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   1                18 person. He has no legal training. He doesn't
                    19 understand the elements.
   2
                    20 Q. Is that it? Do you have any other
   3                21 information?
                    22 A. Do you need more?
   4
                    23 Q. Yes. I need more. If you have more, I'd like
   5                24 to hear more.
                    25 A. Yeah. I think that about covers it.
   6
                    (Tauler Depo., 144:02-25)
   7
   8    The InStyle Magazine Article Does Not Inform Mr. Tauler that Mr. Nicolini Did
   9                Not Perform a Fair Use Analysis (Tauler Decl., Exhibit E)
  10         The InStyle article provides little information about Okularity. Mr. Tauler
  11   contends it was helpful because the article mentioned that Backgrid “outsource[ed]”
  12   its copyright enforcement efforts to Okularity. This cannot be an evidentiary basis to
  13   contend that Mr. Nicolini did not review for fair use. Mr. Tauler contends that by
  14   outsourcing, it must mean that the parties are not communicating about the market
  15   value of the works. Even assuming that this logical leap is true, Mr. Tauler testified
  16   that even he was able to figure out the market value of the works based on his own
  17   internet research. (Tauler Depo. 56:16-23.) Therefore, this article does not provide
  18   any information helpful to Mr. Tauler.
  19                     The Okularity Website (Tauler Decl., Exhibit F)
  20         Mr. Tauler contends that the Okularity website assists him in determining that
  21   Mr. Nicolini did not review for fair use because “[i]t describes only the software
  22   deployed, and it doesn't describe in any fashion the fact that they complied with fair
  23   use.” (Tauler Depo., 152:11-13.) This omission from the “About Us” section
  24   cannot provide Mr. Tauler with an evidentiary basis to say that no fair use analysis
  25   was performed as there is no requirement that Mr. Nicolini make this disclosure.
  26   Mr. Tauler again contends that because Okularity is not a law firm it should not be
  27   able to do a fair use analysis, but that contention runs contrary to this Court’s earlier
  28   order and Mr. Tauler’s own testimony that “any idiot” could perform the analysis.
                                         9
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   1                 Tauler Smith LLP Timesheets (Tauler Decl., Exhibit G)
   2         Mr. Tauler submits his firm’s timesheets to demonstrate that attorneys and
   3   paralegals spent a total of 58.3 hours on this case prior to filing the complaint. But
   4   these timesheets do not demonstrate that Mr. Tauler had a factual basis for claiming
   5   that Mr. Nicolini did not review fair use. Indeed, a majority of the firm’s time was
   6   dedicated to tasks unrelated to research regarding Mr. Nicolini, and to the extent it
   7   was, Mr. Tauler has not provided any other information demonstrating an
   8   evidentiary basis for his allegations about Mr. Nicolini’s fair use analysis.
   9      Tauler Smith Associate’s Westlaw Search Records (Tauler Decl., Exhibit H)
  10         Mr. Tauler submitted records from his associate lawyer to support his
  11   contention that he had an evidentiary basis to contend that Mr. Nicolini did not
  12   review fair use. Like Mr. Tauler’s records, these records reveal nothing that is
  13   helpful to this inquiry. (Tauler Depo., 100:20-115:02.) Mr. Tauler argued that
  14   research on whether a meme is fair use was helpful because, he contends, a meme is
  15   fair use, and therefore Mr. Nicolini did not review fair use. But this argument is
  16   circular and self-serving; it does not address what Mr. Nicolini actually reviewed
  17   before sending notices and does not give Mr. Tauler a factual basis to claim Mr.
  18   Nicolini did not review fair use, especially when Mr. Tauler contends that he has not
  19   done his own fair use analysis.
  20       Excerpts of Mr. Ginsburg’s Deposition Transcript (Tauler Decl., Exhibit I)
  21         Mr. Tauler contends Mr. Ginsburg’s deposition is helpful because it
  22   demonstrates that “Nicolini never communicated with the [Photo Agencies] about
  23   the value of the images.” (ENTtech Response to OSC at 9 (Dkt. 77).) Problematic to
  24   this position is that Mr. Ginsburg was not testifying on behalf of each of the Photo
  25   Agencies as a person most knowledgeable, he was there to testify as to his personal
  26   knowledge about his testimony presented in his declaration. And Mr. Ginsburg did
  27   not testify that he has not communicated with Mr. Nicolini about the value of the
  28   photographs. (See Tauler Decl., Ex. I.) Mr. Tauler did not close the gap; there may
                                        10
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   1   be other ways for Mr. Nicolini to access information about the value of the
   2   photographs.3
   3           Mr. Tauler’s Gripe with “Automated Software” (Tauler Decl., ¶ 10)
   4         Mr. Tauler contends again and again that Mr. Nicolini’s software is
   5   “automated” to support his contention that no fair use analysis had been completed.
   6   Mr. Nicolini has stated during his initial pre-litigation phone calls, in his declaration,
   7   and in his deposition that the software is not fully automated, yet Mr. Tauler
   8   continues to contend that it is, without evidentiary basis. After all, even the
   9   declaration of Mr. Nicolini from 2012 explains the Bit-Torrent software is not fully
  10   automated. Mr. Nicolini testified that the current software is not fully automated,
  11   but Mr. Tauler did not attach those pages of his deposition testimony. (Ardalan
  12   Decl., Ex. A, 15:13-22:01.)
  13          Mr. Tauler does not even believe that using software precludes one from
  14   conducting a fair use analysis. (Tauler Depo., 144:02-144:25.) When asked what
  15   prevents Mr. Nicolini from reviewing for fair use and then using software to
  16   generate the notice, Mr. Tauler acknowledged that the only reason was that Mr.
  17   Nicolini lacked the legal training and is a “software person.” Id. Problematic to this
  18   position is that Mr. Tauler only speculates that Mr. Nicolini does not have any legal
  19   training to begin with. (Tauler Depo., 42:20-43:14 (Tauler explains his pre-suit
  20   filing basis for believing Nicolini has no legal training is because if he had he would
  21   have put it on his website).)
  22   ///
  23   ///
  24
  25   3
         Mr. Tauler represents that Mr. Ginsburg testified as to the value of an infringement in this
       case. That is not what Mr. Ginsburg testified. Mr. Ginsburg actually explained that he is not
  26   a sales manager and that it would depend on a lot of variables. “There is more to it than what
       you just said. There is a lot of variables. How long does he want it? Does he want it
  27   embeddable? Is he going to put it on his Facebook? [] [A]s I say, there is a lot of variables
       involved in licensing images.” (Tauler Decl., Ex. I, 54:12-23.) Moreover, this is one of many
  28   examples where Mr. Tauler deposed Mr. Ginsburg on issues well outside the scope of his
       declaration, in violation of this Court’s order.
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   1         Phone Calls with Mr. Nicolini Prior to Filing Suit (Tauler Decl., ¶ 10)
   2          Curiously, at Mr. Nicolini’s deposition Mr. Tauler did not ask Mr. Nicolini
   3   about the phone call in which he informed Mr. Tauler that he reviewed each work
   4   for fair use prior to issuing a DMCA notice. Mr. Tauler knew that Mr. Nicolini
   5   contended that he had because he attested as much in prior briefing. (Nicolini
   6   Decl., ¶¶ 6, 7 (Dkt. 39-7), ¶ 3 (Dkt. 67-3).) When Mr. Tauler was asked about the
   7   conversation, he contended that there were two conversations. The first call was
   8   about settlement which he attests did not include a discussion about fair use. (Tauler
   9   Depo., 28:11-29:01.) Mr. Tauler testified that on the second call, he could not
  10   remember whether he asked Mr. Nicolini if he or someone else reviewed an
  11   infringement for fair use prior to issuing a notice. (Tauler Depo. 34:3-5) (“Q. Did
  12   you ever ask him if a human reviews the aggregated infringements? A. I don't
  13   remember”). In fact, he has no recollection of fair use coming up at all. (Tauler
  14   Depo., 29:16-19 (Q: “So you discussed the software was automated, but you have no
  15   recollection of fair use coming up either way? A: “Well, correct. Yeah.”)) Minutes
  16   later, Mr. Tauler testified that he had asked whether Mr. Nicolini reviewed for fair
  17   use but that Mr. Nicolini did not respond to his question. (Tauler Depo., 30:17-
  18   31:05.)
  19          Giving Mr. Tauler the benefit of the doubt, he had a hazy memory of the
  20   conversation, which therefore could not inform him that Mr. Nicolini did not review
  21   for fair use, especially when Mr. Nicolini has testified that he informed Mr. Tauler
  22   during a call that he had reviewed each infringement for fair use. 4
  23   ///
  24   ///
  25
  26
       4
        It is troubling that despite testifying that he had no recollection of fair use coming up either
  27   way in both conversations, Mr. Tauler nevertheless confidently alleged in the Third
       Amended Complaint that “Nicolini did not mention any purported analysis by himself (or by
  28   anyone else) concerning [] whether the use of the image on social media was allowed by the
       “fair use” doctrine.” (Third Amended Complaint, ¶15 (Dkt. 57.)
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   1   III.   MR. TAULER HAS NO EVIDENTIARY SUPPORT FOR HIS
   2          ALLEGATION THAT THE PHOTO AGENCIES DO NOT OWN THE
   3          COPYRIGHTS TO THE WORKS AT ISSUE
   4          Mr. Tauler does not substantively respond to the issue of whether he had or
   5   has a basis to contend that the Photo Agencies do not own the rights to the works at
   6   issue. This argument was raised in Defendants’ Joint Memorandum Re Rule 11
   7   Sanctions (Dkt. 63) which explained that additional, frivolous allegations were made
   8   in the Third Amended Complaint. Specifically, ENTtech alleges that Defendants do
   9   not have exclusive rights in the Images because some (though not all) of the Images
  10   were posted on Instagram and “widely” across the Internet. (TAC ¶ 50; see also
  11   TAC ¶ 15, ¶ 40 (Defendants’ “misconduct also includes falsely certifying in DMCA
  12   notices that the [Photo Agencies] possess exclusive rights, when they purposely do
  13   not know (because, they have not inquired) whether any such rights exist.”); ¶ 51
  14   (DMCA notices were fraudulent “because nobody made any inquiry to determine
  15   whether [the Photo Agencies] owned any ‘exclusive rights[s]’”).) But these
  16   allegations are both factually and legally unsupported: there are no facts alleged that
  17   would, if accepted as true, cast doubt on the Photo Agencies’ copyright ownership;
  18   and even if Images were posted on Instagram and “widely” across the Internet, that
  19   alone does not undermine the Photo Agencies’ copyright infringement claims
  20   against ENTtech.
  21          The Court gave ENTtech the opportunity to amend its RICO claim because
  22   ENTtech mentioned the lack of rights for the first time in its briefing in opposition to
  23   Defendants’ motion to dismiss, and, as such, this unsupported allegation has directly
  24   caused Defendants to incur more fees on another motion to dismiss because of this
  25   frivolous position. (Dkt. 40 at 6.) Remarkably, Mr. Tauler has not explained his
  26   basis for these legally frivolous allegations (see 17 U.S.C. § 204(a) (“A transfer of
  27   copyright ownership” is not valid unless in writing signed by owner of the rights
  28   conveyed.)), and Tauler continues to rely on them in opposition to the Motion to
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   1   Dismiss the Third Amended Complaint, even though these baseless allegations were
   2   raised as a potential Rule 11 issue both in Docket 63 and at the Court’s December
   3   14, 2020 Status Conference.
   4   IV.   ENTTECH’S SUBSEQUENT AMENDMENTS TO THE COMPLAINT
   5         DO NOT AVOID RULE 11 SANCTIONS
   6         “The central purpose of Rule 11 is to deter baseless filings.” Cooter & Gell v.
   7   Hartmarx, 496 U.S. 384, 393 (1990). Sanctions are appropriate—indeed, “must be
   8   imposed”—when the paper is either frivolous or filed for an improper purpose.
   9   Townsend v. Holman Consulting Corp., 929 F.2d 1358, 1362 (9th Cir. 1990). The
  10   filing of a subsequent complaint does not avoid Rule 11 sanctions, especially as Mr.
  11   Tauler continues to allege unsupported contentions about Mr. Nicolini’s fair use
  12   analysis and about the Photo Agencies apparent lack of ownership.
  13   V.    DEFENDANTS MOTION IS NOT A “THINLY VEILED DISCOVERY
  14         DEVICE” AS AT LEAST THE DEFENDANTS’ DEPOSITION
  15         EFFORTS HAVE BEEN LIMITED TO THE RULE 11 INQUIRY
  16         Defendants have been careful to follow the Court’s order and limit the scope
  17   of their deposition of Mr. Tauler to the testimony provided in Mr. Tauler’s
  18   declaration. Especially in light of the seriousness of this OSC re Sanctions,
  19   Defendants lodge Mr. Tauler’s entire deposition transcript to the Court so that it can
  20   appreciate that Defendants are not cherry-picking testimony to suit their position or
  21   misusing the deposition for an improper purpose.
  22   VI.   CONCLUSION
  23         The Court should sanction both Robert Tauler and Tauler Smith LLP. See
  24   Fed. R Civ. P. 11(c)(1). The sanctions should include striking the TAC and
  25   dismissing ENTtech’s claims in their entirety, with prejudice. In addition, because
  26   the sanctionable conduct has been long-standing and repeated, despite notice,
  27   monetary sanctions should be imposed to reimburse Defendants for their costs and
  28   attorney fees in defending against the baseless allegations.
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   1   Dated: January 27, 2021           ONE LLP
   2                                     By: /s/ Joanna Ardalan
                                             Joanna Ardalan
   3
                                             Peter R. Afrasiabi
   4
                                              Attorneys for Defendants and
   5
                                              Counterclaimants
   6                                          Backgrid USA, Inc.; Splash News and
                                              Picture Agency, LLC, Xposure Photo
   7
                                              Agency, Inc.
   8
       Dated: January 27, 2021           PERKOWSKI LEGAL, PC
   9
                                         By: /s/ Peter S. Perkowski
  10
                                             Peter S. Perkowski
  11
                                              Attorneys for Defendants
  12
                                              Okularity, Inc. and Jon Nicolini
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